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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS R/CT 6
                                 TYLER DIVISION O

 UNITED STATES OF AMERICA                     §                       BY
                                                                       eputy
                                              § No. 6:21 -CR- ZS ...
                                              § Judge
 DANIEL ROACH                                 §
                                      INDICTMENT

 THE UNITED STATES GRAND JURY CHARGES:

                                    INTRODUCTION

                                       THE SCHEME

        Beginning on or about August 1, 2021, to on or about October 20, 2021, in the

 Eastern District of Texas and elsewhere, Daniel Roach, defendant, did devise a scheme

 and artifice to defraud and for obtaining money or property by means of false or

 fraudulent pretenses, representations, or promises.

                                OBJECT OF THE SCHEME

        1. The objective of the scheme was to obtain funds from other individuals and

 property from businesses under false pretenses and maintain those funds and property for

personal use.


        2. It was part of the scheme that Daniel Roach, defendant, did:

            a. steal checks from envelopes that had been placed into United States Postal

            Service post office boxes for mailing;




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             b. alter the checks and pass them at the Walmart stores in Gun Barrel City,

             Texas; Athens, Texas; and Canton, Texas, in order to purchase retail

             merchandise; and

             c. return the retail merchandise to Walmart stores for cash reimbursement.




                                          Count One

                                                   Violation: 18 U.S.C. § 1708
                                                   (Mail Theft)

         On or about August 10, 2021, in the Easte District of Texas, Daniel Roach,

 defendant, did knowingly and unlawfully have in his possession mail and the contents of

 mail, to wit: a check, #6545, from account number      8808, that had been placed in the

 mail by B. R., which had been stolen, taken, embezzled, or abstracted from the U.S. Mail,

 knowing the same to have been stolen, taken, embezzled or abstracted.

         In violation of Title 18 U.S.C. § 1708.

                                          Count Two

                                                   Violation: 18 U.S.C. § 1708
                                                   (Mail Theft)

         On or about August 13, 2021, in the Eastern District of Texas, Daniel Roach,

 defendant, did knowingly and unlawf lly have in his possession mail and the contents of

 mail, to wit: a check, #2631, from account number ****0254, that had been placed in the

 mail by N. R., which had been stolen, taken, embezzled, or abstracted from the U.S. Mail,

 knowing the same to have been stolen, taken, embezzled or abstracted.

         In violation of Title 18 U.S.C. § 1708.


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                                         Count Three

                                                   Violation: 18U.S.C. § 1708
                                                   (Mail Theft)

         On or about August 24, 2021, in the Eastern District of Texas, Daniel Roach,

 defend nt, did knowingly and unlawfully have in his possession mail and the contents of

 mail, to wit: a check, # 3265, from account #     6731, that had been placed in the mail

 by B. M., which had been stolen, taken, embezzled, or abstracted from the U.S. Mail,

 knowing the same to have been stolen, taken, embezzled or abstracted.

         In violation of Title 18U.S.C. § 1708.




                                         Count Four

                                                   Violation: 18 U.S.C. § 1708
                                                   (Mail Theft)

         On or about October 15, 2021, in the Eastern District of Texas, Daniel oach,

 defendant, did knowingly and unlawfully have in his possession mail and the contents of

 mail, to wit: a check, #1493, from account # * 9838, that had been placed in the mail

 by B. B., which had been stolen, taken, embezzled, or abstracted from the U.S. Mail,

 knowing the same to have been stolen, taken, embezzled or abstracted.

         In violation of Title 18 U.S.C. § 1708.




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                                          Count Five

                                                   Violation: 18 U.S.C. § 1708
                                                   (Mail Theft)

         On or about October 16, 2021, in the Eastern District of Texas, Daniel Roach,

 defendant, did knowingly and unlawfully have in his possession mail and the contents of

 mail, to wit: a check, # 06129, from account #    6860, that had been laced in the mail

 by C.P, which had been stolen, taken, embezzled, or abstracted from the U.S. Mail,

 knowing the same to have been stolen, taken, embezzled or abstracted.

         In violation of Title 18 U.S.C. § 1708.




                                          Count Six

                                                   Violation: 18 U.S.C. § 1708
                                                   (Mail Theft)

         On or about October 20, 2021, in the Eastern District of Texas, Daniel Roach,

 defendant, did knowingly and unlawfully have in his possession mail and the contents of

 mail, to wit: a blank check, # 2983, from account #****1641, that had been placed in

 the mail by P.S., which had been stolen, taken, embezzled, or abstracted from the U.S.

 Mail, knowing the same to have been stolen, taken, embezzled or abstracted.

         In violation of Title 18 U.S.C. § 1708.




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                                        Count Seven

                                                   Violation: 18 U.S.C. § 1343
                                                   (Wire Fraud)

         On or about August 13, 2021 in the Tyler Division of the Eastern District of

 Texas, Daniel Roach, defendant, having devised the aforesaid scheme and artifice to

 defraud and obtain money and property by means of false and fraudulent pretenses,

 representations, and promises, caused to be transmitted by means of wire, in interstate

 commerce, writings, signs, and signals, for the purpose of executing the aforesaid scheme

 and artifice, to-wit: a check, #2631, from account #    0254, in the amount of $248.69,

 made payable to Walmart, and deposited into Walmart s bank account.

         In violation of Title 18 U.S.C. § 1343.




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              NOTICE OF INTENT TO SEEK CRIMINAL FORFEITURE

           Pursuant to 18 U.S.C. 981(a)(1)(C), 982(aYl and 28 U.S.C. § 2461




         As a result of committing the offenses as alleged in this indictment, the defendant

 shall forfeit to the United States, pursuant to 18 U.S.C. §§ 981(a)(1)(C), 982(a)(1), and 28

 U.S.C. § 2461, any property constituting, or derived from, proceeds the person obtained

 directly or indirectly, as the result of such violation(s).

         If any property subject to forfeiture, as a result of any act or omission by the

 defendant:

         (a) cannot be located upon the exercise of due diligence;

         (b) has been transferred or sold to, or deposited with a third party;

         (c) has been placed beyond the jurisdiction of the court;

         (d) has been substantially diminished in value; or

         (e) has been commingled with other property which cannot be subdivided

                 without difficulty;

 the defendant shall forfeit to the United States any other property of the defendant up to

 the value of the forfeitable property.




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                                         A TRUE BILL



                                         GRAND JURY FOREPERSON

 BRIT FEATHERSTON
 UNITED STATES ATTORNEY



            LE                           Date
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            United States Atto ey




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                                                                            EA TERN DISTRICT OF ' 'EXA



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS               BY
                                                                        DEPUTY-
                                  TYLER DIVISION

 UNITED STATES OF AMERICA

 v.                                        § NO. 6:21-CR-7
                                           § Judge
 DANIEL ROACH                              §
                               NOTICE OF PENALTY


                                  Counts One - Six

 VIOLATION:                      18U.S.C. § 1708

 PENALTY:                        Imprisonment for not more than five (5) years; a fine
                                 of not more than $250,000; a term of supervised
                                 release of not more than three (3) years.

 SPECIAL ASSESSMENT              $100.00

                                    Count Seven

 VIOLATION:                      18U.S.C. § 1343

 PENALTY:                        Imprisonment for not more than twenty (20) years; a
                                 fine of not more than $250,000; a term of supervised
                                 release of not more than five (5) years.

 SPECIAL ASSESSMENT              $100.00




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